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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



  United States of America,                  )       CASE NO. 5:12 CR 286
                                             )
                        Plaintiff,           )       JUDGE PATRICIA A. GAUGHAN
                                             )
                vs.                          )
                                             )
  Dante L. Branch, et al.,                   )       Memorandum of Opinion and Order
                                             )
                        Defendants.          )

         Introduction

         This matter is before the Court upon defendant Dale Colbert’s Motion to Suppress His

  Intercepted Communications (Doc. 152), defendant Darryl Colbert’s Motion to Suppress Title

  III Wiretap Evidence with Request for Franks Hearing (Doc. 160), defendant Jeremy

  Duncan’s Motion to Suppress His Intercepted Cell Phone Conversations (Doc. 162),

  defendant Darin Wright’s Motion to Join Defendants Dale Colbert’s and Darryl Colbert’s

  Motions to Suppress (Doc. 166), defendant Antowan Logan’s Motion to Suppress His

  Intercepted Communications (Doc. 167), defendant Wesley A. Black’s Motion to Join the

  Motions to Suppress Filed on Behalf of Defendants Dale and Darryl Colbert (Doc. 168), and

  defendant Louis Harmon’s Motion to Join Co-Defendant Colbert’s Motion to Suppress (Doc.

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  199). For the following reasons, all motions are DENIED.

         Discussion

         Defendants were indicted on drug charges. Moving defendants seek to suppress

  evidence obtained as a result of various Title III wiretap Orders issued by United States

  District Court Chief Judge Solomon Oliver Jr. and, on one occasion, United States District

  Court Judge James S. Gwin. The interception warrants are for Target Telephone 1 through 10

  (hereafter, TT-1 through TT-10) identified as follows:

  [TT-1] LOUIS D. HARMON

  [TT-2] DANTE BRANCH

  [TT-3] LOUIS D. HARMON

  [TT-4] DARRYL A. COLBERT

  [TT-5] DARRYL A. COLBERT

  [TT-6] DALE E. COLBERT

  [TT-7] DANTE L. BRANCH

  [TT-8] DERRICK WATSON

  [TT-9] JEREMY S. DUNCAN

  [TT-10] DALE E. COLBERT1

         Orders were signed on the following dates: December 7, 2011 (Government Ex. 1),

  January 5, 2012 (Government Ex. 2), January 20, 2012 (Government Ex. 3), February 18,

  2012 (Government Ex. 4), March 19, 2012 (Government Ex. 5), and May 3, 2012



  1
         More than one telephone was used by defendants resulting in more than one
         Target Telephone.

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  (Government Ex. 6).

         Each of the motions challenge the “necessity” component of various Title III Orders

  and the probable cause requirement that defendants had committed a drug trafficking crime.

  One motion asserts that investigators failed to “minimize” intercepted conversations. One

  motion requests a Franks hearing.

         Title III of the Omnibus Crime Control and Safe Streets Act of 1968 (Title III), 18

  U.S.C. §§ 2510–2522, sets out the requirements and provisions relating to wiretapping. Title

  III establishes a multi-tiered approval process for obtaining a wiretap. First, an application

  for an interception order must be approved by the Attorney General or a high ranking

  Department of Justice Official. Second, a law enforcement officer must present the

  application to a federal judge for approval. 18 U.S.C. §§ 2516, 2518.

         Title III interceptions must meet the “necessity requirement.” “Under § 2518, a

  law-enforcement official's application for wiretap authority must contain ‘a full and complete

  statement as to whether or not other investigative procedures have been tried and failed or

  why they reasonably appear to be unlikely to succeed if tried or to be too dangerous.’ ” U.S. v.

  Wolcott, 483 Fed.Appx. 980 (6th Cir. 2012) (quoting 18 U.S.C. § 2518(1)(c)). “The necessity

  requirement ensures that a wiretap is not used as the initial step in a criminal investigation, or

  is otherwise resorted to in situations where traditional investigative techniques would suffice

  to expose the crime.” Id. (internal quotations omitted) (citing United States v. Rice, 478 F.3d

  704 (6th Cir. 2007), United States v. Giordano, 416 U.S. 505 (1974), United States v. Alfano,

  838 F.2d 158, 163 (6th Cir.1988)). “Accordingly, the application must demonstrate that the

  government gave serious consideration to the non-wiretap techniques prior to applying for


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  wiretap authority and explain why, under the particular circumstances at hand, such

  techniques would be, or had already proven to be, inadequate.” Id. (internal quotations

  omitted) (citing United States v. Stewart, 306 F.3d 295 (6th Cir. 2002), United States v.

  Lambert, 771 F.2d 83, 91 (6th Cir.1985)). “Nonetheless, the government need not prove the

  impossibility of other means of obtaining information, and, relatedly, the mere fact that some

  investigative techniques were successful in uncovering evidence of wrongdoing does not

  mandate that a court negate the need for wiretap surveillance.” Id.

         Additionally, under 18 U.S.C. § 2518, the issuing judge approving a wiretap must

  determine on the basis of facts submitted by the applicant that there is probable cause “for

  belief that an individual is committing, has committed, or is about to commit a particular

  offense enumerated in [§] 2516" and “for belief that particular communications concerning

  that offense will be obtained through ... interception.” “A reviewing court assesses the

  application on the totality of the circumstances and in a reasonable and common sense

  manner.” United States v. Jackson, 454 Fed.Appx. 435 (6th Cir. 2011) (citing United States v.

  Alfano, 838 F.2d 158, 162 (6th Cir.1988) (noting that “[t]he basic standards for a wiretap are

  similar to those for a search warrant”). “A reviewing court affords great deference to the

  issuing judge's determination of the circumstances at the time of issuance.” Id. (citing Alfano,

  838 F.2d at 162).

         Finally, the “minimization” requirements of § 2518(5) must be met. Title III requires

  that surveillance “be conducted in such a way as to minimize the interception of

  communications not otherwise subject to interception.” 18 U.S.C. § 2518(5). “To warrant

  suppression for want of proper minimization, defendants must show that monitoring agents


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  exhibited a high disregard for defendants' privacy rights or that they did not do all they

  reasonably could to avoid unnecessary intrusions.” United States v. Haque, 315 Fed.Appx.

  510 (6th Cir. 2009) (internal quotations omitted) (citing United States v. Feldman, 606 F.2d

  673, 679 (6th Cir.1979)).“The minimization statute is deemed to be satisfied if on the whole

  the agents have shown a high regard for the right of privacy and have done all they reasonably

  could to avoid unnecessary intrusion.” United States v. Feldman, 606 F.2d 673, 679 (6th

  Cir.1979) (internal citations and quotations omitted). The defendant bears the burden of

  production and persuasion in challenging the Government's compliance with the minimization

  requirement. Id.; United States v. Giacalone, 853 F.2d 470, 483 (6th Cir.1988).

         “To suppress Title III intercepts based on misstatements and/or omissions in the

  underlying affidavit, a defendant must show by a preponderance of the evidence that (1) the

  misstatements or omissions were deliberately or recklessly made, and (2) but for those

  misstatements or omissions, the affidavit would lack the requisite probable cause to sustain

  the warrant.” United States v. Haque, 315 Fed.Appx. 510 (6th Cir. 2009) (citing United States

  v. Charles, 138 F.3d 257, 263 (6th Cir.1998), Franks v. Delaware, 438 U.S. 154 (1978)).

         The Court addresses the motions in the order in which they were filed. As an initial

  matter, moreover, some of the defendants challenge the wiretap Orders concerning TT-I

  (Louis Harmon), but, as the government points out, defendants were not intercepted over that

  line and they lack standing to challenge it. United States v. Dickerson, 651 F.Supp.2d 739

  (N.D.Ohio 2009) (citations omitted) (“The defendant only has standing as to conversations in

  which he participated, or which occurred over a telephone belonging to him: the fact that he

  was named in orders, but not intercepted does not give rise to standing.”) Subsequent to the


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  briefing of the other defendants’ motions and the government’s combined response, Louis

  Harmon filed his Motion to Join Co-Defendant Colbert’s Motion to Suppress in an apparent

  recognition of defendants’ lack of standing to challenge the wiretap orders relating to

  Harmon. However, Harmon does not present his own analysis or point to any particular

  deficiencies in those Orders or affidavits. Nevertheless, the Court agrees with the

  government, and adopts the reasoning set forth by it, that Porrini’s affidavit established a

  substantial basis for the issuing judge to find probable cause and necessity for issuing the

  Orders.

            (A) Dale Colbert’s Motion to Suppress His Intercepted Communications

            Dale Colbert challenges the affidavit in support of wiretapping his telephone (TT-6).

  He argues that necessity has not been shown as the affidavit fails to establish that traditional

  investigative techniques were tried, but failed. Defendant contends that the government’s

  investigation of him was limited to the following: Law enforcement learned through CS

  (confidential source)-6 that a California shipping company, Ortega, shipped drugs through

  YRC Delivery to Massey’s located at 1338 Newton, Akron, Ohio. Dale Colbert was then

  observed at that address. Several bank accounts were subpoenaed but information was not

  received. A search warrant was executed for a package shipped from a person in California

  to Massey in Akron through YRC, and cocaine was found. Law enforcement was informed by

  an employee of YRC that YRC informed an unnamed person that law enforcement seized the

  shipment. Certain incoming and outgoing calls were subpoenaed, and telephone toll analysis

  and subscriber checks was done. Defendant contends that while law enforcement was aware

  of his address in California, it did not do a trash pull, conduct any surveillance, or look into


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  any bank accounts. Nor did law enforcement talk with anyone from Ortega, the alleged

  distribution point for the drug shipments, or with anyone from YRC, the alleged shipper.

  Defendant asserts that while the affidavit states that traditional investigative techniques were

  tried but failed, only boilerplate reasons (applicable to any narcotics investigation) are given

  as to why these techniques were not used.

         Defendant also argues that the affidavit does not establish probable cause to believe

  that he committed a drug trafficking crime because the affidavit relies on six confidential

  sources and previous wiretap interceptions, but the only informant connected to him (CS-6)

  knows nothing about him.

         Finally, defendant asserts that the government failed to follow proper minimization in

  his case in that it recorded a number of personal, non-criminal conversations.

         For the following reasons, the Court disagrees that the affidavit fails to establish

  necessity, probable cause, or minimization.

         On March 19, 2012, Judge Oliver signed the Application for an Order Authorizing

  Continued Interception of Wire Communications To and From [TT-2] and Initial Interception

  of Wire Communications To and From Cellular Telephone Facilities [TT-6], [TT-7], and [TT-

  8]. (Government Ex. 5)2 The Application is supported, inter alia, by the 129 page affidavit of

  Special Agent (SA) Douglas Porrini. As discussed immediately below, the affidavit provides

  a detailed explanation, applicable to the facts of this case, as to what investigative techniques

  had been used, and why other types would be unsuccessful if tried. Thus, Judge Oliver had a



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         Although Dale Colbert was the subject target of the May 3, 2012 Order as well,
         he does not specifically challenge that Order.

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  substantial basis to find necessity.

            While the application for a wiretap order must contain a full statement as to whether

  other investigative procedures were tried and failed, would be unlikely to succeed, or would

  be too dangerous, “the government need not prove that it has exhausted every conceivable

  conventional investigative method.” Dickerson, supra (citing U.S. v. Alfano, 838 F.2d 158,

  163 (6th Cir.1988)). “What matters is that the government inform ‘the issuing judge of the

  difficulties involved in the use of conventional techniques.’ ” Id. (citing U.S. v. Stewart, 306

  F.3d 295, 304 (6th Cir.2002)). The burden of showing necessity is not a heavy one, and a

  wiretap need not be used only as a last resort. All that is required is that law enforcement first

  give serious consideration to the non-wiretap techniques, and that the court be informed as to

  why they have been or would likely be inadequate. While a purely conclusory affidavit

  unrelated to the facts of the case at hand does not comply with the statute, an application

  meets the necessity requirement where it gives a reasonable statement of the consideration or

  use of the other investigative means. A court evaluates that showing in a “practical and

  common sense fashion.” United States v. Gentry, 2012 WL 2947589 (M.D.Tenn. July 19,

  2012) (citing United States v. Giacalone, 853 F.2d 470 (6th Cir. 1988), Alfano, supra, U.S. v.

  Landmesser, 553 F.2d 17 (6th Cir. 1977), and United States v. Rice, 478 F.3d 704 (6th Cir.

  2007)).

            Porrini’s affidavit outlines his relevant experience and the previous Orders authorizing

  interception of wire communications in this matter. Porrini also summarized the investigation

  up to that time which included the seizure of seventeen kilograms of cocaine from an engine

  block sent to an Akron address from California. Affiant sets forth in detail the objectives of


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  the investigation. In sum, Porrini stated the “overall objective of [the] request for authority to

  intercept wire communications over” TT-6, as well as the others identified in the Application,

  was to:

            (1) discover the identities and communications facilities used by the drug
            associates of the Colberts and Branch, with a primary emphasis on
            the Colberts’ dealings with their unknown cocaine/marijuana
            supplier(s); (2) discover the identities and communications
            facilities used by the drug associates of Treggs, Duncan, Watson
            and Branch, with a primary emphasis on Treggs’ dealings with his unknown
            marijuana supplier(s); (3) uncover the modus operandi of the Colbert and Treggs
            DTOs [drug trafficking organizations]; and (4) gain evidence to prove the connection,
            participation, and role of all Colbert and Treggs coconspirators in the criminal
            activity- in a concerted effort to completely dismantle the DTOs of which they are a
            part.

            Contrary to defendant’s assertion, the affidavit establishes the requisite necessity and

  does not reject traditional techniques in a terse or boilerplate manner, but in a manner tailored

  to the current need for expanding the wiretap. In particular, Porrini stated that while the

  initial focal point of the investigation had been Dante Branch’s relationship to a California to

  Ohio marijuana trafficking enterprise involving Anthony Treggs, Derrick Watson, Dennis

  Hunter and Jeremy Duncan, as the investigation unfolded it was discovered that Branch also

  had current ties to a significant, multi-state cocaine venture involving Dale and Darryl Colbert

  (twins). While the investigation and Title III interceptions had revealed aspects of both of

  these DTOs, “additional investigation [was] needed - especially with regard to the Treggs

  DTO.” Additionally, the affidavit states:

            85. Title III interceptions over [TT-2] to date have
            been productive; however, continued Title III authority
            over this facility does not negate Affiant’s request to
            commence interceptions over [TT-6], [TT-7] and [TT-8]
            for several reasons. First, DANTE L. BRANCH is known
            to have at least three cellular telephones, including

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          [TT-2] and [TT-7]; therefore, it is not guaranteed that
          communications between BRANCH and the COLBERTS will be
          captured over [TT-2]. Moreover, BRANCH has indicated in
          intercepted conversations over [TT-2] with FNU LNU #6
          and DALE E. COLBERT, that his “other” telephone - that
          is newly acquired [TT-7] - is his “work” (drug
          business) telephone - although Affiant and his
          colleagues continue to intercept pertinent narcotics
          related conversation over [TT-2], and believe BRANCH
          will continue to use all of his cellular telephones
          with regard to his drug business. More importantly,
          interceptions over [TT-2] will not capture telephonic
          communication between DARRYL A. COLBERT and DALE E.
          COLBERT and their other criminal associates in
          Northeast Ohio, California (especially the
          supplier(s)), and elsewhere. Access to those
          communications is essential if Affiant and his colleagues are to expand this
          investigation to the COLBERTS’ supplier(s) and other significant drug associates.

   And,

          [C]ourt authorized interceptions over DARRYL A.
          COLBERT’s [TT-4] and [TT-5] were helpful in revealing
          certain aspects of the DARRYL and DALE COLBERT DTO.
          However, these two cellular telephones have been
          jettisoned in favor of new cellular “work”
          telephone(s). Thus continued authority of these
          telephones would not be of value. Moreover, it appears
          that while they are “partners” to a certain extent, it
          is DALE E. COLBERT who looks to be the primary contact
          with DALE and DARRYL’s cocaine supplier. Therefore,
          authority to intercept wire communications over [TT-6]
          is essential if the investigation is to expand to level
          of the California cocaine and marijuana supplier(s).

          Over the course of 31 paragraphs, Porrini addressed traditional investigative

   techniques, which had been tried and failed, or were reasonably unlikely to succeed if tried, or

   were too dangerous to employ.

          Porrini first addressed surveillance. He stated that while law enforcement officers

   continued to conduct physical surveillance over the past thirty days, coordinated through Title

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   III interceptions, which led to “positive developments,” this technique had “severe

   limitations.” Due to “the secretive nature of drug dealing, and the lack of discernable routine,

   it is almost impossible to identify times and locations where criminal activity it apt to occur.”

   He noted that the mere observation of individuals meeting, or the haphazard following of

   subjects offered no significant benefit to the investigation, and he gave a specific example

   which occurred on January 30, 2012. Porrini also set out specific surveillance operations

   which occurred on February 21-23, 2012, in conjunction with Title III interceptions, but

   concluded that while physical surveillance had been beneficial to some degree, this technique,

   overall, had “proved ineffective in securing evidence sufficient” to convict principal

   participants of the two DTOs. He stated, “Without advance, specific information about their

   whereabouts, surveillance of the principal members cannot be effectively conducted.

   Surveillance efforts, whether “fixed” or “drive-by,” over the past several months have not

   resulted in any meaningful evidence of criminal activity. Finally, Affiant believes it too

   risky to use extensive surveillance because of the caution exhibited by the DTO members”

   and he provided an example. Porrini stated his belief that further physical surveillance,

   conducted without the support of wire interceptions, may compromise the investigation

   because prolonged surveillance increases the opportunity for detection.

          Porrini also reported that law enforcement officers had installed pole cameras on

   January 8, 2012 at Dante Branch’s car wash in Akron and on February 6, 2012 at the

   warehouse located on Bank Street in Akron, and that attempts were being made to have a pole

   camera installed at Ortega’s Polishing Shop in Ontario, California. Affiant stated that while

   data from the pole cameras had some usefulness, this technique suffered from limitations. He


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   provided several specific examples, and concluded that “while the use of pole cameras in this

   investigation may be of some assistance, it fails - as a single technique - in providing

   the type of evidence necessary to attack these two DTOs.”

            Electronic tracking techniques were also addressed, but rejected “as evidence in and of

   itself of criminal activity.” In particular,“The data is assisting surveillance units in locating

   BRANCH, DALE COLBERT, DARRYL COLBERT, DARIN WRIGHT and LOGAN -

   which is of some value; however, their location alone is insufficient to reveal actual

   criminal conduct. Again, it is only through the context of intercepted conversations that

   meaning is derived from the location of these individuals.” As to mobile tracking of vehicles,

   the affiant reported the “practical problems” of using the technique in this investigation, as

   well as the unacceptable risk of using it, given the suspicions of some of the targets.

            Second, Porrini discussed the use of confidential sources. He stated that CS-1, CS-2,

   and CS-3 no longer were cooperating, and that while CS-4, CS-5, and CS-6 had provided

   useful information since the Title III investigation commenced, “The information [was] not

   sufficient to lead to attainment of the investigation’s overall objectives.”   With regard to

   CS-6, the source “had valuable information about the Coberts’ general operation, but was

   never in a position to know the specific, inner workings of the DTO, or all the players

   involved.” He provided a specific example. Porrini further stated that he and “his colleagues

   continue to hunt for persons who might be able to shed light on the inner

   workings of the two targeted DTOs - but none have been found and/or developed at this

   time.”

            Third, Porrini addressed grand jury investigation and set forth the reasons, advised by


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   the Assistant U.S. Attorney, that this would be unlikely to be successful in achieving the

   investigation’s goals.

          Fourth, Porrini discussed in detail why he did not believe interviewing persons with

   respect to these DTOs would effectively advance the goal of identifying the main suppliers of

   the cocaine and marijuana for either DTO. He averred in particular:

          While additional evidence against LOUIS D. HARMON, DANTE L. BRANCH,
          DARRYL A. COLBERT, DALE E. COLBERT, and others has been secured since
          Title III authority was initiated on December 07, 2011, Affiant does not believe
          confronting any of these principal target subjects at this point would lead to the
          achievement of investigatory goals. First, the only “hard evidence” (actual controlled
          purchases and/or seizures of controlled substances or drug proceeds) that has been
          secured prior to March 12, 2012, is a one pound marijuana purchase[d] from
          HARMON. On March 12, 2012, seventeen kilograms of cocaine were seized, based in
          large part, on Title III interceptions. This seizure, along with earlier Title III
          interceptions around February 21, 2012, is compelling evidence of the COLBERTS’
          drug trafficking. However, to convince DALE E. COLBERT, DARRYL A.
          COLBERT, and/or DANTE L.BRANCH of their personal peril, the Title III would
          have to be revealed. If any one of these Target Subjects refused to cooperate (and
          instead notified criminal associates), the entire investigation into BOTH the
          COLBERT and the TREGGS DTOs would come to a premature end. Also, Affiant
          cannot be certain (or even confident) that the COLBERTS would provide information
          about their cocaine/marijuana supplier(s).

   After discussing the possibility of approaching other known (and unknown) associates of the

   principal targets, Porrini concluded:

          For the reasons set forth above, Affiant does not
          believe interviewing persons with respect to these two
          DTOs would be effective. Because of the apparent
          “cross-over” between these two DTOs, should the
          existence of the Title III wiretap be revealed, it
          almost assuredly ends both investigations. Therefore,
          interviews are not a viable investigative technique at
          this time.

          Fifth, Porrini reported that he had reviewed toll records for cellular telephone facilities

   [TT-2], [TT-6], [TT-7], and [TT-8], as well as toll information pertaining to other telephone

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   numbers associated with these DTOs, but that such efforts failed to significantly advance the

   investigation. He noted that drug traffickers often change communication devices, and that

   had been the case here. Porrini provided specific observations.

          Sixth, Porrini discussed the limitations of trash searches:

          On several occasions prior to obtaining Title III authority, "trash searches" were
          attempted at the residence of LOUIS D. HARMON, located at 1415 Dietz Avenue,
          Akron, Ohio. On four separate trash days (the last being November 2, 2011),
          investigators went to HARMON's residence to conduct a trash search and no trash was
          visible on the curb. One trash search was attempted at BRANCH's residence, located
          at 838 Kennebec Avenue, Akron. Investigators were unable to conduct a search of the
          trash due to the use of motion detector lights operating at the residence. The
          investigators did not want to risk being compromised. Affiant believes that law
          enforcement would risk detection if they were to attempt a search of either HARMON
          or BRANCH's residences. Even if a trash search could be successfully conducted at
          these locations, Affiant does not believe it would yield significant evidence. Based
          upon training and experience in investigating high-level traffickers, Affiant has found
          that such targets go to great lengths to destroy possible incriminating evidence and
          frequently will not use their residential trash containers to dispose of valuable
          information. Affiant knows that it is common for traffickers to carry trash away from
          their residences and place it in commercial dumpsters to avoid having it examined by
          law enforcement. Therefore, at this time, Affiant does not believe that trash searches
          are feasible, practical, or will result in the attainment of the goals of this investigation.

          Last, Porrini addressed search warrants, concluding that he did not believe “use of

   search warrants at this time would provide sufficient evidence to determine the full scope of

   these drug trafficking enterprises, the identities of all co-conspirators, and the various

   methods used to operate this enterprise, especially as it pertains to the COLBERT and

   TREGGS

   DTOs.” He noted that law enforcement lacked specific information as to locations used by

   members of these DTOs for storage of drugs. And, the principal targets may not “hold” drugs

   for any appreciable amount of time. He provided a recent case specific example. Porrini

   additionally stated that it was his experience that “narcotics dealers generally keep only

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   limited records on details of their daily narcotics activities.” While a “documents” search

   warrant could be obtained, “it is highly unlikely that any seized documents, records or

   papers, even if incriminating, would be of sufficient evidentiary value alone, or in conjunction

   with other presently possessed evidence, to prosecute persons identifiable from the records.”

   Also, searching some of the targets’ residences only would serve to alert the principal

   members of these DTOs of law enforcement interest.

           In sum, Porrini concluded that while he and his colleagues continued to consider these

   traditional investigative techniques, and have used them where appropriate, they could not in

   and of themselves “reasonably lead to the type and quantity of evidence necessary to prove

   the connection, participation, and role of substantially” all of the participants of these two

   DTOs.

           It is apparent from this discussion that Porrini comprehensively, and with case specific

   discussion, addressed why traditional investigative techniques had been or were likely would

   be unsuccessful in attaining the stated overall objectives of the investigation. The affidavit

   more than adequately details the investigative techniques that law enforcement used previous

   to seeking the wiretap, and why they failed or were unlikely to succeed. The Court is

   satisfied that the affidavit demonstrates the government’s serious consideration to the non-

   wiretap techniques and that Judge Oliver was well-informed of the reasons for the

   investigator’s belief that such techniques had been or would likely be inadequate. Viewed in

   a common sense and practical manner, Porrini’s assertions demonstrate that the government

   sufficiently considered non-wiretap techniques prior to applying to Judge Oliver for the

   authorization to wiretap. The affidavit as a whole clearly contained substantial basis for a


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   finding of necessity.

          Defendant also briefly argues that the affidavit does not establish probable cause to

   believe that he had committed a drug trafficking crime, i.e., the transportation of drugs across

   state lines. He notes that the affidavit relies on six confidential sources and previous wiretaps

   interceptions, but that the only informant connected to him, CS-6, knows nothing about him.

   The Court disagrees given that a common sense reading of the affidavit shows that probable

   cause was established. The affiant set forth information provided by CS-6 pertaining to Dale

   and Darryl Colbert:

          [T]he COLBERTS have been importing large amounts of cocaine to the Canton/Akron
          area from California since the summer of 2010. CS-6 has witnessed nine or ten loads
          of cocaine arrive in the Canton area since the shipments began. According to CS-6,
          the COLBERTS have engine blocks delivered to several warehouses in the area from
          a
          location in California. The bills of lading associated with the deliveries show the
          shipper to be Ortega's Polishing Shop, with an address of 1127 W. State Street,
          Ontario, CA 91762. According to CS-6, the engine blocks contain 10-15 kilograms of
          cocaine which are hidden inside each engine block. CS-6 also has observed vests, the
          type used by X-ray technicians, lining the engine blocks. The COLBERTS advised
          CS-6 that the vests were lead to prevent the engine blocks from being x-rayed by law
          enforcement. The cocaine was removed by either DARRYL or DALE COLBERT, and
          then distributed in the area. The engine blocks are then loaded with currency, profits
          from the cocaine sales, and shipped back to California. CS-6 was receiving 5
          kilograms from each load, with the rest of the cocaine being distributed to unknown
          persons in the Akron and Canton area by either DARRYL or DALE COLBERT. CS-6
          knows the same type of shipment is arranged by the COLBERTS to unknown
          destinations in St. Louis and Tennessee. CS-6 knows the COLBERT brothers live in
          California and come to Ohio when a shipment of cocaine is arriving, or money
          is being sent back to California. On January 27, 2012, CS-6 telephonically reported to
          investigators that he had been contacted by one of the COLBERT brothers (again who
          are twins), who was calling from (760) 605-5652. According to CS-6, the unknown
          brother advised that his brother was coming into town in the next few days. [Affiant
          believes this call was from DALE E. COLBERT, as other intercepted calls prior to
          January 27, 2012, confirmed that DARRYL A. COLBERT was arranging travel to
          Ohio - and did in fact travel to Ohio - as reported by CS-6.] During previous trips,
          when CS-6 was notified that one of the COLBERTS was coming into town, the
          cocaine showed up soon thereafter. CS- 6 does not know the location where the

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          cocaine will be delivered if delivered to the area.

   Porrini then stated that deliveries of engine blocks from Ortega’s were confirmed to a Canton

   business in the second half of 2011, and that an engine block was shipped from Ortega’s to

   Massey & Sons in Akron in February 2012. Dale Colbert was observed at that business

   during the delivery. Additionally, the affidavit included numerous previously intercepted

   telephone conversations involving this defendant in 2012 placed on Darryl Colbert’s targeted

   telephones. The Court agrees with the government that based upon the totality of the

   circumstances and applying a reasonable and common sense approach, the affidavit

   established probable cause.

          Lastly, this defendant asserts that the wiretaps failed to follow proper minimization

   and personal and non-criminal conversations were recorded. However, no discussion or

   analysis is offered and he fails to satisfy his burden of proving a violation.

          For these reasons, defendant Dale Colbert’s Motion to Suppress His Intercepted

   Communications is denied.

          (B) Darryl Colbert’s Motion to Suppress Title III Wiretap Evidence with Request
          for Franks Hearing

          Darryl Colbert argues that the affidavits in support of the warrants which authorized

   the interception of his telephone calls, and those upon which his conversations were obtained,

   did not meet the necessity requirements because they did not establish that traditional

   investigative techniques were sufficiently exhausted before the government requested the

   wiretaps. In particular, defendant challenges the necessity of the January 20, 2012 Branch

   wiretap, the February 18, 2012 continued Branch wiretap and Darryl Colbert wiretaps, the

   March 19, 2012 continued and new Branch wiretaps and Dale Colbert wiretap, and the May

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   3, 2012 continued Branch wiretap and Dale Colbert wiretap. He also challenges probable

   cause as to the wiretap of February 18, 2012. Finally, he argues that since the wiretap

   application affidavits contained recklessly made materially false statements, a Franks

   evidentiary hearing is necessary.

                  (i) January 20 Order3

          Defendant challenges the necessity of Judge Oliver’s January 20, 2012 Order

   authorizing the interception of the wire communications of Dante Branch’s cellular telephone

   and a new telephone used by Louis Harmon (Government Ex. 3) based on the following

   assertions in SA Porrini’s affidavit.

          Defendant asserts that the affidavit falsely stated that Branch and Darryl Colbert were

   affiliated with the Los Angeles, California based “East Coast Crips Street Gang.” It falsely

   stated that in October 2010 Darryl Colbert was stopped during an investigative traffic stop,

   and was found with over $10,000.00 cash and what appeared to be “a drug ledger along with

   Hispanic names and bank account numbers,” and that during the stop, Colbert provided a

   California driver’s license with the name “Dale Colbert.” Finally, it falsely stated that there

   was probable cause to believe that there was a substantial DTO operating from Los Angeles,

   California and Akron, Ohio, involving current and/or past members of the Crips Street gang.

          Defendant asserts that these recklessly false statements conveyed to Judge Oliver the

   impression that traditional investigative techniques would be too dangerous based upon the

   character of Branch and Darryl Colbert.



   3
          Darryl Colbert and Jeremy Duncan challenge this Order. They have standing to
          do so given that they were intercepted over Branch’s telephones.

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          The affidavit contained an analysis of previously intercepted Title III conversations

   which uncovered no conversations which explicitly dealt with (as opposed to Porrini’s

   interpretation) the subject of drugs or drug trafficking. The affidavit contains no mention of

   the use of weapons, violence, or violent threats in any of the conversations involving Dante

   Branch. Thus, it omits the fact that there is no indication of violent behavior.

          The affidavit used generic boilerplate language in asserting that traditional

   investigative techniques were not reasonably likely to identify the major participants of this

   DTO, and result in sufficient evidence to prove the means by which the marijuana and/or

   cocaine is delivered into the Akron, Ohio by this DTO, and that traditional techniques have

   been tried and failed, or were too dangerous to employ. And, it used reasoning that could

   always be argued in every type of criminal case when stating that normal investigative

   procedures have been tried and have failed to produce sufficient evidence to successfully

   prosecute all of the persons involved, reasonably appeared to be unlikely to succeed if tried,

   or were too dangerous to employ.

          The affidavit discussed surveillance, confidential sources, undercover investigation,

   grand jury investigation, interview of suspects, toll records and pen register analysis, trash

   searches, and search warrants. But the affidavit showed that these attempts were either not

   tried or should have been exhausted where tried. Generally, defendant contends that the

   traditional investigative methods that were tried were working, and that the government

   sought out a wiretap because it was an easy and effective way to obtain evidence.

          For the following reasons, the Court agrees with the government that defendant’s

   assertions should be rejected.


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          Defendant offers no proof of the alleged false statements, or any support for his

   assertions. Nor did Porrini assert that gang affiliation or violent behavior were factors to be

   considered in evaluating necessity. Additionally, Porrini’s affidavit contains a comprehensive

   and case specific discussion, not boilerplate, as to why traditional investigative techniques

   had been or likely would have been unsuccessful in attaining the overall objectives of the

   investigation. Each of the successive affidavits detailed the progress of the expanding

   investigation which lead to the wiretaps of Darryl Colbert’s cellular telephones. While

   defendant (and Jeremy Duncan in his motion) parse each technique and contend that more

   should have been done with the techniques that were working, and attempts should have been

   made with those that were deemed non-viable, the Court agrees with the government that a

   “hyper-technical and speculative analysis” is inappropriate. Rather, the affidavit is assessed

   in a practical and common sense fashion.

          Porrini’s affidavit addressed the need for interception over the course of 28 detailed

   paragraphs, including a discussion of each traditional investigative technique.

          First, he discussed surveillance. He stated that physical surveillance of Harmon,

   Branch, and others had been conducted and led to some positive developments in identifying

   some who may be involved with this DTO, but that it had severe limitations: “Because of the

   secretive nature of drug dealing, and the lack of any discernable routine, it is almost

   impossible to identify times and locations where criminal activity is apt to occur. The mere

   observation of individuals meeting, or the haphazard following of subjects offers no

   significant benefit to the investigation.” He then provided a specific example from December

   14, 2011, which showed that “without intercepted conversations over [TT-1], investigators


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   would not have known about either of these meetings, and even if surveillance units

   had been lucky and captured the meetings, their meanings would have been unknown.

   Therefore, wire interception over [TT-2] and [TT-3] is essential to make physical surveillance

   effective, and thus provide opportunities for the interdiction of marijuana, cocaine or

   proceeds.”

          Porrini also noted the risk of detection associated with physical surveillance and

   again gave specific examples.

          Porrini reported that a pole camera had been installed at Branch’s Akron carwash, and

   stated that while these can be useful in certain circumstances, “without interceptions over

   [TT-2] it will be almost impossible to distinguish between customers using the car wash and

   drug related meetings.” He also noted other specific shortcomings with this method and that

   “prior to obtaining Title III authority, Affiant was not able to identify any specific location

   that was of paramount importance to the operation of the HARMON or BRANCH DTOs.

   That

   situation has not changed since first obtaining Title III authority on December 7, 2011.”

          Porrini addressed GPS or cell site tracking of cellular telephones, and noted the

   limited value by providing a case specific example.

          Second, Porrini comprehensively addressed confidential sources:

          Since obtaining Title III authority on December 07, 2011, Affiant and his colleagues
          have received additional information from CS-4 and CS-5. The information has been
          useful, but is not of the type that can lead to attainment of the investigation's overall
          objectives.

          As explained in previous Affidavits, CS-1, CS-2, and CS-3 are no longer viable
          providers of information - and none of them had knowledge of BRANCH's activities
          with the HUNTER DTO. CS-4 and CS-5 remain active cooperators; however,

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          although CS-4 has had a sustained, and substantial drug relationship with
          HARMON (primarily cocaine), CS-4 was never able to position himself so as to
          obtain specific and timely information on HARMON's drug dealing. Furthermore,
          CS-4's ability to gain "inside" information has been compromised by virtue of the
          recent drug arrest, of which HARMON and his closer associates are aware.
          CS-4 has been unable to establish a drug relationship with BRANCH, and receives
          much of his information about BRANCH from HARMON. Therefore, while CS-4 has
          almost daily contact with HARMON and/or other members of HARMON's DTO, he is
          unable to obtain anything other than general information. CS-5's information pertains
          only to the activities of DENNIS S. HUNTER and JEREMY S. DUNCAN. CS-5 is
          not in a position to contact, meet or converse directly with any of the Target Subjects
          operating in the Akron, Ohio area. Finally, although CS-5 is able to obtain general
          narcotics related information, he is not in a position to make controlled buys from
          either HUNTER or DUNCAN. Affiant and his colleagues continue to look for persons
          who might be able to shed light on the inner workings of the cocaine and marijuana
          trafficking activities of HARMON, BRANCH, and their associates - but none have
          been found and/or developed.

          Third, Porrini discussed the general limitations of undercover investigations, and then

   specifically noted that none of the interceptions over Harmon’s targeted telephone suggested

   that he dealt with strangers. Rather, the intercepted drug related conversations showed that

   Harmon was very familiar with his customers, and met at “normal” or previously understood

   spots. While defendant complains that no undercover operation was undertaken, Porrini noted

   that CS-4 was not in a position to introduce an undercover agent into the DTO since that

   source was not in a position to purchase drugs from BRANCH himself. In sum, undercover

   activity would not be successful in fully identifying members and distribution practices of the

   venture, or otherwise satisfy the goal of dismantling the larger operation.

          Fourth, grand jury investigation was rejected for the specific reasons set forth in the

   affidavit which were based upon the advice of the Assistant U.S. Attorney.

          Fifth, the affiant stated at length why he believed interviewing persons with respect to

   this drug trafficking enterprise would be ineffective based on his past experience and


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   specifically:

          While some additional evidence against [Harmon] and [Branch] has been secured
          since December 07, 2011, by virtue of the wire interceptions over [TT-1]... Affiant
          does not believe confronting Harmon or Branch at this point would lead to the
          achievement of investigatory goals. First, the only "hard evidence" (actual controlled
          purchases or seizures of controlled substances or drug proceeds) that has been secured
          is a one pound marijuana purchase from Harmon. The new evidence has consisted
          almost exclusively of Title III interceptions. This information has been limited
          -primarily since neither Harmon nor Branch have been in possession of substantial
          stashes of cocaine/marijuana ... Even in conjunction with the historical information,
          the new evidence is not reasonably likely to persuade either individual to cooperate.
          Confronting either individual with the wiretap evidence alone obviously reveals the
          existence of the investigation (prematurely) and is not likely to convince either person
          of personal peril. As noted in the previous Affidavits, Parker, Williamson, and Branch
          were members of Harmon's wedding party, which evidences an extremely close
          personal relationship between them. Affiant believes if they were approached, law
          enforcement would most likely have to reveal specific details of any significant case
          against them (which really doesn't exist) and/or Harmon in order to obtain their
          cooperation. Additionally, conversations intercepted over [TT-l] have shown Harmon
          has a close personal relationship ... Affiant believes it is much more likely any such
          contact would be communicated to other members of the DTO, thereby compromising
          the integrity of the investigation...

   Affiant also stated that investigators involved with Terrance Tarver were not prepared to risk

   their overall investigation by approaching him at that time.

          Sixth, toll records and pen register analysis were addressed but noted that “telephonic

   contact in and of itself does not identify the actual person(s) participating in the

   communication with Harmon and Branch. Interception of wire communications over [TT-2]

   and [TT-3] will likely reveal the identities of persons who to date have not been identified,

   and reveal the true nature of their conversations with Harmon and Branch.”

          Seventh, Porrini addressed trash searches as in the affidavit above. Finally, the affiant

   specifically stated why the use of search warrants would not provide sufficient evidence to

   determine the full scope of the drug trafficking enterprise, the identities of all co-conspirators,


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   and the various methods used to operate the enterprise. In particular, CS-4 was not aware of

   the locations used by Harmon or Branch to store narcotics, and no other locations had been

   identified by investigators that would justify the execution of a search warrant. “Moreover, it

   is clear that it has been difficult for the DTO to obtain large quantities of controlled

   substances over the past thirty days. Title III interceptions and source information suggest this

   will change sometime after January 1, 2012 - but there is no clear indication of when or where

   those drugs will be stashed.” Affiant also stated his belief, and the basis thereof, that Harmon

   and Branch may not "hold" drugs for any appreciable period of time. And, affiant had no

   specific information that Harmon and Branch kept detailed documentation of their

   transactions, and documents seized would not, in themselves, be sufficient to prosecute.

   Finally, a search would likely only serve to alert the targets of the investigation,

   but would not be adequate to sustain a successful prosecution of a majority of the members of

   the drug operation.

          Defendant argues that as of the time of the January 20 application, Porrini and the

   government

          would clearly have believed that there was sufficient probable cause for the issuance
          of search warrants targeting Branch, Harmon, and other members of the drug
          trafficking conspiracy that it was investigating. It flies in the face of logic to suggest
          that search
          warrants executed simultaneously against Harmon, Branch et al., based on
          information provided by the Government’s confidential sources and other forms
          of traditional investigative techniques, would not have been fruitful. And, upon
          obtaining additional evidence against Branch and Harmon, the odds that either or
          both of them would become cooperators, and agreed to work with investigators,
          give interviews, or testify in front of a Grand Jury would have increased
          exponentially.

   (Doc. 161 at 15-16). But, defendant does not identify specific locations or particular other


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   members of the conspiracy, and fails to refute Porrini’s averment that investigators lacked

   specific knowledge of where the drugs or proceeds were kept or when they were likely to be

   present. Nor does he address how the execution of a search warrant as to Harmon and Branch

   would harm the overall investigation into the DTOs.

          As with the affidavit above, there was a substantial basis for Judge Oliver to find

   necessity when issuing the January 20, 2012 Order . The affidavit demonstrates that the

   government gave serious consideration to the non-wiretap techniques prior to applying for

   wiretap authority, and Judge Oliver was informed of the reasons for the affiant’s belief that

   the non-wiretap techniques would have been, or would likely have been, inadequate.

                  (ii) February 18, 2012 Order

          Next, defendant challenges the February 18, 2012 Order signed by Judge Oliver

   authorizing the continued wiretap of Branch’s cellular telephone and his own two cellular

   telephones. (Government Ex. 4) Again, the Application was supported by the affidavit of SA

   Porrini. Defendant challenges necessity and probable cause.

          Porrini stated the current objectives of the continued investigation:

          During the investigation conducted to date,
          Affiant has learned that DANTE L. BRANCH is
          currently in contact with two significant DTOs.
          First, BRANCH has had contact with DARRYL A.
          COLBERT and DALE E. COLBERT, known cocaine
          traffickers out of California. Secondly, BRANCH
          has had contact with a marijuana trafficking group
          from California, apparently headed by ANTHONY L.
          TREGGS and/or DUNCAN S. HUNTER.

          With regard to the COLBERT DTO, Affiant and his
          colleagues have intercepted conversations over
          [TT-2] between DANTE L. BRANCH and DARRYL A.
          COLBERT, using [TT-4], in which COLBERT and BRANCH

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         discussed a female in the Canton, OH area who was
         in possession of drugs (believed to be cocaine).
         BRANCH advised COLBERT that she showed him “one”
         (believed to be a kilogram) to which COLBERT
         replied that there should have been more than
         that. During the same conversation BRANCH and
         COLBERT discussed COLBERT’s intended arrival into
         the Akron/Canton area on January 26, 2012.

         Based on information provided by CS-6, intercepted
         Title III communications, and other investigation,
         Affiant believes DARRYL A. COLBERT arrived in the
         Akron area to arrange for a shipment of cocaine
         from California to the Akron/Canton area.
         Interceptions over [TT-1] and [TT-2] revealed
         DANTE L. BRANCH advised LOUIS D. HARMON to get
         ready (collect money or advise his buyers) because
         COLBERT was coming into town. However,
         interceptions over [TT-2] also revealed that
         COLBERT’s anticipated cocaine shipment was
         inadvertently sent by the supplier to other
         customers in Tennessee.

         With regard to the TREGGS/HUNTER DTO, Affiant is
         advised that this DTO is allegedly responsible for
         distributing approximately 1,500 pounds of
         marijuana monthly in Dayton and Akron, Ohio,
         through a trucking concern operated by JEREMY S.
         DUNCAN. Affiant has learned that ANTHONY L.
         TREGGS, as well as BRANCH, HUNTER, and DARRYL A.
         COLBERT are current or past members of the CRIPS
         Street gang out of Los Angeles, CA. According to
         CS-5, TREGGS was in the Dayton, OH area meeting
         with HUNTER in late December 2011. On January 30,
         2012, TREGGS was intercepted over [TT-2] advising
         BRANCH that he would be in town during that week.
         Later that same day, DUNCAN, a courier for TREGGS,
         was intercepted over [TT-2]. DUNCAN advised
         BRANCH that he was in town and wanted to meet with
         BRANCH. BRANCH met with DUNCAN at a warehouse in
         the Akron, OH area. Based on intercepted
         conversations over [TT-2] between BRANCH and
         DERRICK WATSON, it appeared DUNCAN dropped off an
         unknown, multi-pound quantity of marijuana to

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          BRANCH. Affiant has learned that TREGGS and
          WATSON are stepbrothers, and are cousins of
          BRANCH’s wife, Carla Treggs.

          Therefore, the overall objective of this request
          for authority to intercept wire communications
          over [TT-2], [TT-4], and [TT-5] is to: (1)
          discover the identities and communications
          facilities used by the drug associates of the
          COLBERTS and BRANCH, with a primary emphasis on
          COLBERT’s dealings with his unknown California
          cocaine supplier; (2) discover the identities and
          communications facilities used by the drug
          associates of TREGGS, DUNCAN, and BRANCH, with a
          primary emphasis on TREGGS’ dealings with his
          unknown marijuana supplier(s); (3) uncover the
          modus operandi of the COLBERT and TREGGS DTOs; and
          (4) gain evidence to prove the connection,
          participation, and role of all COLBERT and TREGGS
          co-conspirators in the criminal activity – in a
          concerted effort to completely dismantle the DTOs
          of which they are a part.

                          (a) necessity

          Defendant argues that the affidavit fails to make an adequate showing of necessity. In

   fact, defendant asserts, the affidavit is weaker than the previous one given the government’s

   recent discovery of CS-6, who was able to provide a vast amount of valuable information

   providing evidence against Darryl Colbert and Branch. In particular, defendant attacks the

   following portions of Porrini’s affidavit.

          Defendant asserts that the affiant falsely characterized defendant as a “known cocaine

   trafficker out of California,” although affiant had no first-hand knowledge but relied on the

   information from CS-6. Affiant falsely stated that in October 2010, Darryl Colbert was

   stopped during an investigative traffic stop, and was found with over $10,000.00 cash and

   what appeared to be “a drug ledger along with Hispanic names and bank account numbers,”

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   and that during the stop, Colbert provided a California driver’s license with the name “Dale

   Colbert.” Affiant falsely stated that Branch and Darryl Colbert were affiliated with the Los

   Angeles, California based “East Coast Crips Street Gang.” These inaccurate statements,

   defendant asserts, would have given Judge Oliver the impression that defendant was violent

   and, therefore, traditional investigative techniques would have been too dangerous.

          Defendant asserts that there is no mention of the use of weapons, violence, or violent

   threats in any of the intercepted conversations. And, although there is evidence that Colbert

   and Branch had possessed firearms, there is no indication of violent behavior.

          Defendant contends that the affidavit uses boilerplate language in asserting, “Given

   the

   totality of the circumstances involved in this case, it is not reasonably likely that the use of

   traditional investigative techniques, in and of themselves, will conclusively identify the major

   participants of this DTO, and result in sufficient evidence to prove the means by which the

   marijuana and/or cocaine is delivered into the Akron, Ohio by this DTO.” And likewise in

   stating, “Traditional techniques have been tried and failed, or are too dangerous to employ, as

   was thoroughly discussed in the previous affidavits authored by Affiant in support of Title III

   authority. This situation remains.” Finally, defendant maintains that the affidavit uses

   reasoning that could be argued in every type of criminal case when it states that “normal

   investigative procedures have been tried and have failed to produce sufficient evidence to

   successfully prosecute all of the persons involved, reasonably appear to be unlikely to

   succeed if tried, or are too dangerous to employ.”

          Defendant points to the affiant’s discussion of the traditional investigative techniques


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   and concludes that some were not even attempted and others were actually working. For

   instance, surveillance in Akron of Branch and Darryl Colbert had been working, and other

   than one statement by Branch, the targets were not suspicious of being under surveillance.

   The government failed to conduct surveillance of the Colberts in California. With regard to

   confidential sources, CS-6 had been providing an extremely large amount of valuable

   information on both Branch and Colbert. Undercover investigation was not used even though

   CS-6 would have been in a position to be a point of access to Branch and/or Darryl Colbert.

   Despite the overall progress of the investigation, the development of suspects, and the amount

   of evidence being amassed, grand jury investigation was not attempted. Nor was the

   interviewing of suspects. The reasons given in the affidavit as to why toll records and pen

   register analysis would be difficult (i.e., the number of telephone contacts through pre-paid

   phones with no or inaccurate subscriber information, “seasoned drug traffickers” who avoid

   using telephones, change phones on a regular basis, or take precautions to avoid having the

   phone linked to them) would actually support an argument for not using a wiretap. The reason

   given for why trash searches would not work was already asserted in a previous affidavit, and

   the Colberts’ trash was not searched in California although investigators knew their address.

   Search warrants were not attempted even though as of the time of this application, the

   government would have believed that there was sufficient probable cause for such. And, the

   government would have known that Darryl Colbert was currently on parole in California, on a

   state case, and his home would have been subject to random searches by the California Parole

   Board. Despite affiant’s knowledge that cocaine was being shipped by Darryl Colbert and his

   brother Dale Colbert from Ortega’s Polishing Shop in California to businesses in St. Louis,


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   Missouri and Gallatin, Tennessee, no traditional techniques were employed to target these

   businesses other than attempting to have a pole camera placed at Ortega’s.

          For the following reasons, the Court disagrees that the affidavit has not established

   necessity. The affidavit sufficiently set forth the need for the wiretap:

          First, one of the primary goals of this
          investigation, when it began, was to confirm the
          drug dealing activities of DANTE L. BRANCH,
          identify his criminal associates and modus
          operandi, and gather sufficient evidence to
          prosecute (i.e., dismantle) the DTO(s) of which he
          was apart. Initially, a focal point of this
          investigation was BRANCH’s relationship to a
          California to Ohio marijuana trafficking
          enterprise involving ANTHONY L. TREGGS, DENNIS S.
          HUNTER, and JEREMY S. DUNCAN. As the
          investigation unfolded, it was discovered that
          BRANCH also had current ties to a significant
          cocaine enterprise with multi-state ties, that is
          the DARRYL A. COLBERT and DALE E. COLBERT DTO.
          Both of the above referenced DTOs have links to
          the CRIPS Street Gangs of Los Angeles. While
          Affiant’s investigation, and Title III
          interceptions to date, have revealed aspects of
          both the TREGGS/HUNTER DTO and the COLBERT DTO,
          additional investigation is needed. Given the
          sophistication shown by both DTOs to date, it is
          apparent that traditional investigative techniques
          alone will be inadequate to “infiltrate” the
          methods of operation of these enterprises and lead
          to the successful gathering of evidence and
          prosecution of the “driving forces” behind their
          respective operation.

          Based upon intercepted Title III conversations and
          CS information, Affiant believes DANTE L. BRANCH
          and DARRYL A. COLBERT have several telephones with
          which they conduct their drug business. Since
          DARRYL A. COLBERT’s arrival in the Akron on
          January 26, 2012, only one pertinent conversation
          was intercepted between COLBERT and BRANCH over

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         [TT-2]. However, COLBERT was staying at BRANCH’s
         residence, and they obviously had daily personal
         contact, which leads Affiant to believe any drug
         related conversation(s) were taking place in
         person, and there would be no reason to
         communicate drug related matters over the
         telephone. Affiant has confirmed that DARRYL A.
         COLBERT left the Akron area on February 13, 2012,
         and Affiant believes this will be the impetus for
         DARRYL A. COLBERT to telephonically reach out over
         [TT-4] and [TT-5] to BRANCH and his other
         associates - especially since the anticipated
         cocaine shipment into Northeast Ohio was
         inadvertently sent to Tennessee. At the time of
         this mishap (January 30, 2012), DARRYL A. COLBERT
         had telephonic contact with (909) 200-9030, user
         unknown, and (702) 281-8144, user unknown (see
         paragraph 35). Given the information from CS-6,
         the shipping history of Ortega’s Polishing Shop,
         and the intercepted call between BRANCH and LOUIS
         D. HARMON on February 13, 2012 (in which BRANCH
         advised DALE E. COLBERT was expected to be in town
         shortly - see paragraph 63) it is likely another
         cocaine shipment will arrive within the next
         several weeks, and that DARRYL A. COLBERT and
         DALE E. COLBERT will facilitate that event through
         telephonic communications over [TT-4] and [TT-5].

         Continued Title III authority over [TT-2] does not
         negate the request to commence interceptions over
         [TT-4] and [TT-5] for several reasons. First,
         DANTE L. BRANCH is known to have at least one
         additional telephone besides [TT-2], so that it is
         not certain that communications between the
         COLBERTS and BRANCH will be captured over [TT-2].
         More importantly, interceptions over [TT-2] will
         not capture telephonic communication between
         DARRYL A. COLBERT and other criminal associates in
         Northeast Ohio, California, and elsewhere. Access
         to those communications is essential if Affiant
         and his colleagues are to expand the focus of the
         investigation to the COLBERTS’ supplier(s) and
         other significant drug associates.


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         While there was earlier indication over [TT-2]
         that DANTE L. BRANCH intended to focus on the
         cocaine trade through the COLBERTS, and take a
         brief respite from the TREGGS/HUNTER marijuana
         organization, recent interceptions clearly
         indicate that JEREMY S. DUNCAN dropped off an
         unknown amount of marijuana to the club (1074 Bank
         Street, Akron, Ohio) on or about January 30, 2012,
         and that BRANCH and DERRICK WATSON have been
         actively distributing multi-pound quantities to
         various persons in the Akron area, with the
         assistance of telephonic communication over
         [TT-2]. Therefore, continued Title III authority
         over [TT-2] is necessary to reveal the methods of
         operation, and the identities of persons who are
         involved in this marijuana trafficking endeavor.

         The ongoing Tarver Title III investigation does not
         negate the need for continued Title III authority
         over [TT-2] and the initiation of Title III
         authority over [TT-4] and [TT-5]. DANTE L. BRANCH
         and TERRANCE TARVER are acquaintances, and have
         had telephonic communication in the past; however,
         CS-4 reported that he did not believe they
         conducted narcotics transactions with each other
         Furthermore, Affiant knows that TARVER has not been identified
         in conversation over [TT-2] during the authorized
         period of interception, and Affiant is advised
         BRANCH has not been intercepted over the Tarver
         Title III in drug related conversation. Thus
         while they know each other, and have a common
         friend (and drug associate) in LOUIS D. HARMON,
         the drug dealing activity of TARVER and BRANCH are
         completely separate and not connected.
         Furthermore, there is no indication that TARVER
         even knows the COLBERT brothers, other than what
         HARMON may have told him about them. Through
         surveillance, Affiant knows that DARRYL A. COLBERT
         arrived into the Akron area on January 26, 2012,
         and that he thereafter had a meeting with DANTE L.
         BRANCH at BRANCH’s residence. While BRANCH and
         COLBERT were meeting, HARMON contacted BRANCH from
         [TT-1], and also made arrangements to meet BRANCH
         at BRANCH’s residence. Later that day, after

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            leaving BRANCH’s residence, HARMON placed a call
            over [TT-1] to TARVER and advised TARVER they
            needed to talk. TARVER and HARMON met in a
            parking lot near TARVER’s residence, and Affiant
            believes it likely that the discussion was in
            reference to the COLBERTS - but again, there is no
            indication that TARVER and the COLBERTS (or for
            that matter HARMON and the COLBERTS) have ever
            been involved in narcotics transactions with each
            other. Therefore, the ongoing TARVER Title III
            does not affect Affiant’s request - and need - for
            Title III authority on [TT-4] and [TT-5]. In the
            same vein, while interception of communications
            over [TT-1] was helpful in establishing HARMON’s
            criminal involvement with TARVER and BRANCH, it
            revealed that he relied upon them to actually
            obtain the drugs - whether it be marijuana or
            cocaine. Consequently, continued interceptions
            over [TT-1] was not sought by Affiant, as it did
            not (and could not) reveal TARVER or BRANCH’s
            efforts and methods of operation to obtain drugs
            from their supplier(s), and it did not (and could
            not) lead investigators to the identities of
            TARVER and BRANCH’s criminal associates. These
            matters, though, reasonably can be discovered
            through continued Title III authority on [TT-2],
            and the initiation of Title III authority on [TT-4] and [TT-5].


   Porrini followed with a discussion of the traditional investigative techniques and explained

   why they had been, or were likely to be, ineffective in attaining the investigation’s stated

   goals.

            Defendant does not acknowledge that two detailed case specific examples given by

   affiant of surveillance of Branch and Colbert were offered to show this method’s limitations.

   Without intercepted communications, the mere observance of the targets or haphazard

   following would have given little benefit to the investigation in the absence of any meaning.

   Nor would investigators have known about the referenced meetings without the intercepted

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   communications. Porrini also explained why, although beneficial to some degree,

   surveillance had proved to be ineffective and while the pole cameras alone (without

   intercepted conversations) could not identify criminal activity.

          Affiant discussed in detail why the use of confidential sources and undercover activity

   could not be successful. Defendant points out the benefits of CS-6, but affiant related that

   CS-6's information was “mostly historical in nature” and he owed money to the Colberts for

   past cocaine transactions. Also, Porrini explained that

          CS-6 has never been a position to know the inner
          workings of the COLBERT DTO, or all the players
          involved. CS-6 also has no information about customers
          in the Akron, OH area. While CS-6 may still be able to
          obtain general information about the COLBERT brothers’
          activities, it is not likely he can obtain specific
          information that touches upon the key aspects of their
          DTO.

   Porrini pointed out that none of the other sources were in a position to introduce an

   undercover agent to the organization, and CS-6's information showed that the Colberts were

   very secretive about their organization.

          Contrary to defendant’s assertions, Porrini provided well-reasoned explanations as to

   why grand jury investigation would not work, and provided lengthy case specific examples as

   to why interviewing of suspects would be unlikely to succeed.

          Defendant argues that the reasons given regarding the difficulties associated with toll

   records and pen registers would also apply to wiretaps. But, Porrini explained that these

   methods, unlike the wiretap, cannot identify the individuals participating in the phone

   conversation, the subject matter, or whether the conversation is innocent or with criminal

   purpose.

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           Likewise, trash searches and search warrants were thoroughly addressed. Defendant’s

   contentions in this regard fail to acknowledge that the investigators were in the Northern

   District of Ohio and their primary focus was on the operation of the DTOs in the Akron-

   Canton area. And, as pointed out previously, he does not identify locations that could be

   searched. As the government notes, defendant’s assertion that search warrants would be

   fruitful is purely speculative.

           In sum, the Court agrees with the government that while Darryl Colbert can

   hypothesize on how best to conduct a comprehensive and successful investigation, he cannot

   overcome the fact that Porrini’s affidavit adequately details the investigative techniques that

   law enforcement had used prior to seeking the use of the wiretap, and the reasons why those

   techniques failed or were not likely to succeed, if used, in attaining the objectives of the

   investigation. Rather, the affidavit was tailored to the investigation and gave Judge Oliver a

   substantial basis to find necessity for the wiretap.

                           (b) probable cause

           Defendant also argues that the affidavit fails to contain probable cause for

   interception. Defendant’s argument centers on the fact that the affidavit relies on the new

   confidential source, CS-6, who defendant surmises is not credible or reliable. Defendant

   points to Porrini’s averment:

           Investigators with the FBI Safe Streets Task Force in
           Canton, Ohio, recently received information concerning
           the personnel and operation of an illegal narcotics
           business from an undisclosed individual, hereinafter
           referred to as CS-6. CS-6 has a drug-related criminal
           history. Canton investigators believe CS-6’s
           information to be reliable because the information and
           assistance provided by CS-6 was corroborated by

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          independent investigation by the FBI, DEA, other law
          enforcement officers, and by other information
          furnished to the DEA, FBI and other law enforcement by
          other confidential sources and witnesses. CS-6 is
          attempting to receive consideration on federal
          sentencing, though no charges have been filed. CS-6
          has been familiar with some of the targets of this
          investigation through a drug/criminal relationship.

          Over the course of two paragraphs, Porrini outlined the information provided by CS-6

   relating to the Colberts: The Colberts had been importing large amounts of cocaine to the

   Canton-Akron area from California since 2010, of which CS-6 has witnessed nine or ten

   loads. The Colberts have engine blocks, concealing 10-15 kilograms of cocaine, delivered to

   warehouses in the area from a location in California. The bills of lading show the shipper as

   Ortega’s, referenced above. X-ray type vests line the engine blocks. The cocaine is removed

   by one of the brothers and distributed. The engine blocks are then loaded with the currency

   profits and shipped back. CS-6 was receiving 5 kilograms from each load, with the rest being

   distributed to unknown persons in the area. The same type of shipment is arranged by the

   Colberts to unknown destinations in St. Louis and Tennessee. The Colberts live in California

   and come to Ohio when a shipment is arriving or money is being sent back to California. On

   January 27, 2012, CS-6 reported to investigators that he had been contacted by one of the

   Colbert brothers and advised that he was coming into town in the next few days. When

   previously so notified, cocaine showed up soon thereafter. CS-6 does not know the location

   of where the cocaine would be delivered. On January 27, 2012, CS-6 received a call from

   Darryl Colbert who said that he was in town and needed to see CS-6 about the money he

   owed the brothers. In the presence of law enforcement, CS-6 placed a call to Darryl Colbert

   on January 31, 2012. Colbert told CS-6 he was in Akron and would be leaving on February

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   13, 2012. Conversations and text messages between the two occurred regarding money owed

   by CS-6.

          Defendant contends that CS-6 is not credible and is unreliable, and that his

   information that Darryl Colbert is shipping the cocaine from California is false. Defendant

   asserts that the affidavit shows that CS-6 is a large scale drug trafficker who is attempting to

   ameliorate his own potential prison sentence arising for federal charges. Defendant surmises

   that CS-6 himself could have been behind the operation described, and there is no

   corroboration that Darryl Colbert was involved. Defendant also suggests that possibly the

   government initially confronted CS-6 with his involvement in the Akron area cocaine

   trafficking and mentioned Darryl Colbert, and that CS-6 decided to help himself by naming a

   person who investigators already suspected may be involved. In sum, defendant maintains

   that CS-6 is unreliable as to who was shipping the cocaine from California to Ohio.

          For the following reasons, defendant’s assertions are insufficient to show that the

   affidavit lacks probable cause.

          The portion of the affidavit pertaining to probable cause consists of 37 paragraphs and

   is divided into four sub-sections: historical information, the information provided by CS-6,

   additional information concerning Ortega’s Polishing Shop, and intercepted Title III

   conversations. These sections show corroboration of CS-6's information. Investigators

   confirmed shipments of the engine blocks from Ortega’s to a Canton business, and discovered

   that Ortega’s was sending similar deliveries to businesses in Tennessee and Missouri. Porrini

   intercepted a conversation on January 30, 2012 which he believed revealed that the shipment

   of cocaine meant for the Akron-Canton area was sent to Tennessee instead. Porrini reviewed


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   shipping records from Ortega’s to the Tennessee entity which showed a shipment was sent

   from Ortega’s to that entity on January 26, 2012. Intercepted conversations were summarized

   by Porrini:

          ... Recent conversations over [TT-1] and [TT-2] suggest the
          COLBERT brothers arranged for a shipment of cocaine to
          arrive in the Akron/Canton area, and that DANTE L.
          BRANCH was to have received a portion of that shipment.
          Affiant believes the original shipment headed to the
          Akron/Canton area was inadvertently diverted to
          Tennessee, but anticipate that another shipment will be
          headed towards Akron/Canton area within the next
          several weeks. Affiant believes BRANCH will again
          receive a portion of the shipment and distribute the
          cocaine he receives from the COLBERT brothers to or in
          conjunction with LOUIS D. HARMON and DERRICK WATSON.
          Furthermore, recent intercepted conversations over
          [TT-2] suggest JEREMY S. DUNCAN made a delivery of
          marijuana to BRANCH and WATSON, and made arrangements
          for a future delivery. Intercepted conversations
          indicate TREGGS also made plans to see BRANCH in the
          near future. Affiant believes TREGGS will meet with
          BRANCH to discuss payment for the recent shipment and
          make arrangements for the future delivery.

          Defendant’s attempt to undermine probable cause by attacking the credibility and

   reliability of CS-6 is untenable. The affidavit stated why CS-6 was qualified as a reliable

   source and provided other information supporting probable cause. The affidavit, viewed in its

   totality, contained a substantial basis for Judge Oliver to conclude that a “fair probability”

   existed that evidence of drug dealing would be secured from the requested warrants. See U.S.

   v. Alfano, 838 F.2d 158 (6th Cir. 1988) (citations omitted) (“[C]ertainty is not required at this

   stage, and the exact quantum of support required has frequently been described as ‘a fair

   probability,’ but more than a ‘mere suspicion,’ that such evidence will be discovered. Facts

   can amount to a fair probability without being proof beyond a reasonable doubt or even a

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   prima facie showing.”) Since it has been recognized that “the issuing judge is in the best

   position to determine all of the circumstances in the light in which they may appear at the

   time,” great deference must be paid to his determination. Id. Further, while reasonable

   minds may differ on the issue of probable cause, “the fact that a later trial judge or reviewing

   court may feel that a different conclusion was appropriate does not require, nor even

   authorize, the suppression of evidence gained through such a warrant.” Id.

                  (iii) March 19, 2012 Order

          Based on the discussion above, the government showed the requisite necessity in

   obtaining this Order.

                  (iv) May 3, 2012 Order

          Judge James Gwin issued the Order of May 3, 2012 authorizing the renewed

   interception of Dante Branch’s wire communications and the initial interception of those of

   Jeremy Duncan and Dale Colbert. (Government Ex. 6) As discussed below with regard to

   Jeremy Duncan’s challenge to this Order, necessity was established.

                  (v) Franks hearing

          Defendant sets forth the applicable law:

          Franks v. Delaware, 438 U.S. 154 (1978) stands for the proposition that when a
          defendant makes a “substantial preliminary showing that a false statement is (1)
          “knowingly and intentionally, or with reckless disregard for the truth,…..included by
          the affiant in the warrant affidavit” and (2) necessary to the finding of probable
          cause”, the Fourth Amendment entitles the defendant to a hearing. If at that hearing,
          the Defendant demonstrates by a preponderance of the evidence that the above are in
          fact true, “the search warrant must be voided and the fruits of the search excluded as if
          probable cause was lacking on the face of the affidavit.” Although an affidavit which
          omits potential exculpatory information is less likely to present a question of
          impermissible official conduct than one which affirmatively includes false
          information, material omissions, as opposed to affirmatively false statements, included
          in an affidavit, are not immune from inquiry under Franks. United States v. Atkin, 107

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          F.3d 1213, 1217 (6th Cir. 1997).


          Defendant maintains that his previous assertions regarding false statements contained

   in the affidavits as well as the factual omissions were relevant to a finding of probable cause

   and that the warrants were necessary because other methods would have been too dangerous.

          Defendant does not make a substantial preliminary showing because he does not offer

   proof that the statements were false and he does not analyze the affidavits without the

   statements. As to the omitted information regarding violent behavior, Porrini did not argue

   that the subjects were violent and, therefore, the alleged omissions would not have affected

   the determinations of necessity and probable cause. For these reasons, and those explained by

   the government in its brief, defendant is not entitled to a Franks hearing.

          For the foregoing reasons, defendant Darryl Colbert’s Motion to Suppress Title III

   Wiretap Evidence with Request for Franks Hearing is denied.

          (C) Jeremy Duncan’s Motion to Suppress His Intercepted Cell Phone
          Conversations

          Defendant Jeremy Duncan challenges necessity and probable cause in the supporting

   affidavit of the May 3, 2012 Order issued by Judge James Gwin authorizing the renewed

   interception of Dante Branch’s wire communications and the initial interception of those of

   Jeremy Duncan and Dale Colbert (second telephone). (Government Ex. 6)4

                  (i) necessity



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          Defendant also challenges the January 20 and March 19 Orders which intercepted
          his phone conversations. Those Orders have been upheld, as discussed above.
          Additionally, the Court adopts the reasoning of the government in its discussion
          of necessity.

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           Defendant asserts that the affidavit lacks specific facts as to this defendant

   establishing that normal investigative procedures had been tried and had failed, or reasonably

   appeared unlikely to succeed if tried, or appeared too dangerous. Defendant argues the

   following as to each of the traditional investigative methods which were addressed by Porrini

   in his affidavit.

           The affidavit claims that physical surveillance of Dante Branch and Darryl Colbert

   had been conducted, but does not state to what degree. The statement of inherent limitations

   of this technique is merely generic. Nor does the affidavit detail the extent of any following

   of Duncan. The affidavit’s statements as to why affiant considered physical surveillance to be

   too risky did not relate to Duncan.

           The affidavit describes that a pole camera was installed at Dante Branch’s car wash

   and was effective in capturing Harmon and Colbert meeting together. The affiant then claims

   that a wiretap is necessary because “the mere observation of individuals entering or leaving a

   premise is not conclusive of criminal activity.” But, this is an inherent limitation of pole

   cameras, and the technique was successful in that it achieved its purpose in capturing a

   meeting between two alleged criminal suspects. While the affidavit states that the use of pole

   cameras may be of assistance but fails as a single technique to provide the necessary

   evidence, this is not a ground to approve a wiretap. Nor does the affidavit mention any

   attempt to use a pole camera to record Duncan’s activities.

           The affidavit indicates that because a single technique does not provide all of the

   evidence on its own to secure a conviction, a wiretap should be authorized. The affidavit

   indicates that GPS cell site tracking of the suspects had been successful, but that physical


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   location of the targets alone is insufficient to reveal actual criminal conduct. This is only an

   inherent limitation of a single investigative technique. The affidavit recognized that this

   technique has been attempted with respect to Duncan and was successful.

          GPS tracking of vehicles was not proven to be unsuccessful by one suspect’s

   suspicion, and the affidavit makes no real argument as to why this technique would be

   unsuccessful as to Duncan.

          As to confidential sources and undercover agents, the affidavit reveals that CS-5 is

   providing information on the activities of Duncan and does not state any limitations with the

   exception that the informant is not in a position to make a controlled purchase of drugs from

   defendant. The affidavit indicates that CS-5 successfully infiltrated the conspiracy, and

   nothing indicates that this investigatory technique has been unsuccessful or is too dangerous.

   Nor does the affidavit mention specific efforts to develop a confidential source with respect to

   defendant.

          The affiant rejects the possible use of the grand jury subpoenas and search warrants,

   without any analysis or specificity with respect to defendant. No mention is made as to why

   CS-5, who is already cooperating, could not be called to testify in front of the grand jury. The

   same is true of all of the other confidential sources. The boiler plate rejection of grand jury

   subpoenas fails to establish that this investigatory techniques was reasonably unlikely to work

   as to defendant.

          While the affidavit rejects search warrants as being likely to reveal the investigation to

   its targets, this does not reasonably explain why this tool is unlikely to succeed in this

   particular investigation.


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           Likewise, witness interviews were not attempted and the affidavit contains no

   meaningful analysis of this technique with respect to defendant. The fact that affiant believes

   it is not likely to succeed because the evidence is not strong enough to convince suspects to

   talk is not persuasive given that the affidavit states that the earlier drug seizures and Title III

   interceptions are “compelling evidence” against a large number of people.

           As to search warrants, the affidavit states that the location of “the Club” has been

   identified as believed to be where marijuana is delivered, stored, and processed. While the

   affidavit claims not to know when marijuana would be delivered to this location by defendant

   without the wiretap, affiant fails to explain why it would be difficult to simply surveil the

   Club to determine when defendant’s vehicle arrives and secure a warrant to search it and the

   premises. The affiant claims that executing search warrants would serve to alert the suspects

   of the investigation, but prior to the execution of the affidavit the government seized 17

   kilograms of cocaine, $50,000 in U.S. currency, and 25 pounds of marijuana. In light of these

   seizures, it is unreasonable and inexplicable for the affiant to assert that execution of search

   warrants would be of no use because they would alert targets of the investigation. Moreover,

   nothing specifically addresses defendant.

           For the following reasons, the Court disagrees that the affidavit was lacking in its

   demonstration of necessity.

           As with the previous affidavits, Porrini began by summarizing the status of the

   ongoing investigation as to the Colbert DTO and the Treggs DTO, of which Jeremy Duncan

   was a part. As to the latter, the affiant stated:

           With regard to the TREGGS DTO, DANTE L. BRANCH and
           ANTHONY L. TREGGS were intercepted in a telephone conversation

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          over [TT-2] on January 30, 2012, in which TREGGS advised BRANCH
          that he would be in town (Akron) during that week. Later that
          same day, JEREMY S. DUNCAN, a courier for TREGGS, was intercepted
          over [TT-2]. DUNCAN advised BRANCH that he was in town and
          wanted to meet with BRANCH. BRANCH met with DUNCAN at "the
          Club," a warehouse located at 1074 Bank St., Akron, OH. Based on
          intercepted conversations between BRANCH, using [TT-2], and
          DERRICK WATSON, using [TT-8], it was apparent that DUNCAN dropped
          off an unknown, multi-pound quantity of marijuana to BRANCH and
          WATSON. Additional intercepted telephone conversations suggested
          BRANCH was expecting another shipment from TREGGS/DUNCAN during
          the second or third weeks of March. Intercepted calls over
          [TT-2], [TT-7], and [TT-8] indicated that BRANCH, WATSON, DUNCAN
          and FNU LNU #7 arranged for a shipment of an unknown amount of
          marijuana from California to Akron, OH that arrived in Akron on
          March 29, 2012. Surveillance units observed BRANCH and DUNCAN
          meet at 1074 Bank St., Akron, OH to complete the delivery.
          Additionally on April 06, 2012, TREGGS was intercepted over
          [TT-2] advising BRANCH (who was in California, visiting with
          TREGGS' father) to come to his residence, "I got something for
          you." TREGGS then asked his father to show BRANCH what TREGGS
          had given to his father (marijuana) and advised, "I got a whole
          lot." Affiant knows that DUNCAN is currently using [TT-9], a
          cellular telephone activated on September 13, 2008, and serviced
          by T-Mobile, along with an unknown new cellular telephone.

   Porrini addressed the need for continued interception which was tailored to the current need

   with regard to the Treggs DTO:

          While there is significant evidence that the TREGGS DTO
          has been involved in two marijuana deliveries to Akron during
          2012, investigators have not been able to interdict any marijuana
          and/or drug proceeds~ Consequently, investigators can offer only
          an educated guess as to the amount of marijuana involved in these
          two deliveries, which appear to have been shared by DANTE L.
          BRANCH and DERRICK WATSON. BRANCH and WATSON seemingly have
          separate customer bases. BRANCH's level of local dealing
          suggests the loads may have been in the 50-100 pound range -
          although that might be a little on the light side, given the
          source information about the DTOs historical trafficking
          practices in the Dayton area (1500 pounds per month), and the use
          of a tractor-trailer to transport the marijuana (which would
          suggest larger, rather than smaller shipments). Furthermore,

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         while ANTHONY L. TREGGS has been recently implicated through wire
         interceptions as a California point of contact, investigators
         cannot be sure of this, especially given the unknown identity and
         role of FNU LNU #7, who appears to have arranged the
         transactions. Affiant and his colleagues attempted to
         "infiltrate" the TREGGS DTO through court authorized wire
         interception of DERRICK WATSON's [TT-8]. However, that was
         mostly a dead-end as [TT-8] was revealed to be an "anchor"
         telephone with which WATSON conducted mostly legitimate and
         family business (and a lot of it). It was apparent through
         interceptions over [TT-8], and BRANCH's [TT-2] and [TT-7], that
         the main members of this DTO principally use "drug phones" or
         "work phones" that they obtain in unison. Through Title III
         interceptions and toll analysis, Affiant knows that the group
         just obtained new (and presently unknown) cellular telephones
         with which to conduct their drug trade. Affiant's request for
         Title III authorization for DUNCAN's [TT-9] is necessary because
         even though it is an "anchor" telephone, he seemingly uses this
         "anchor" telephone more frequently for drug related matters than
         his cohorts use their "anchor" telephones. Moreover, BRANCH and
         WATSON have called DUNCAN "the key" to their marijuana
         trafficking activities, and wire interceptions over [TT-9] may
         offer the best opportunity at interdicting a load being delivered
         by DUNCAN, which would not only provide compelling evidence of
         wrong-doing, but also give good indication as to the scope of the
         illegal activity.

         Affiant's request to intercept wire communications over
         [TT-9] is not negated by his request to renew Title III
         interceptions over BRANCH's [TT-2], and vice versa. As stated,
         BRANCH, DUNCAN, WATSON, and presumably ANTHONY L. TREGGS and
         FNU LNU #7 have recently obtained new "work phones." While BRANCH
         has displayed much more discipline in using the designated "work
         phone" for business dealings with members of the TREGGS DTO, he
         nonetheless actively uses [TT-2] in communication with local customers, with the
         COLBERT twins, and most recently (during                April), with a new marijuana
                                                                 supplier,
         FNU LNU #6. Therefore, renewed Title III authority on [TT-2] will further reveal
         BRANCH's criminal associations and/or confirm aspects of his drug
         dealing activities. It will also provide investigators with an
         opportunity to intercept cocaine and/or marijuana that he may
         secure from his multiple sources. Finally, as BRANCH is the
         linchpin which connects the two DTOs, renewed interception of
         communications over [TT-2] will greatly assist investigators as

                                                45
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          the final "take down" of these DTOs is planned and executed.

   Affiant then discussed the limitations of traditional investigative techniques, noting their

   limitations and providing case specific examples.

          Defendant challenges the amount of physical surveillance to which he was subjected

   to and the lack of GPS tracking of his vehicle, but the affidavit shows that a GPS tracking of

   his cell phone was obtained. Porrini noted, “The data is assisting surveillance units in

   locating [the targets]. This has been of some value (and will be of greater value upon ‘take

   down’ to these DTOs); however, the physical location of these persons alone is insufficient to

   reveal actual criminal conduct. Again, it is only through the context of intercepted

   conversations that meaning is derived from the location of these individuals.”

          With regard to confidential sources, Duncan states that the affidavit indicates that CS-

   5 has successfully infiltrated the Treggs DTO, but the affidavit does not appear to so indicate.

   Rather, the affiant states that while this source’s information as to Duncan has been useful, it

   has not been sufficient to lead to the attainment of the investigation’s objectives and “CS-5 is

   not in a position to contact, meet or converse directly with any of the Target Subjects

   operating in the Akron, Ohio area. Although CS-5 is able to obtain general narcotics related

   information, he is not in a position to make controlled buys from either HUNTER or

   DUNCAN.”

          Defendant contends that interviews could have been successful, and that the affidavit

   states that as a result of the Title III interceptions compelling evidence had been obtained

   against a large number of people. But, while that was the case as to the Colbert DTO, affiant

   stated that it was not the case as to the Treggs DTO of which defendant was a part:


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           ... The evidence regarding the TREGGS DTO is not substantial at this time, and
           consists almost entirely of general information provided by CS-5, and a number of
           Title III interceptions. These interceptions revealed that BRANCH and
           DERRICK WATSON were in possession of an unknown (but significant)
           amount of drugs, which Affiant believes to be marijuana, that
           was delivered by JEREMY S. DUNCAN to "the Club" on January 31,
           2012 and March 29, 2012. Affiant does not believe approaching
           any of the known principals of the TREGGS DTO at this time - and
           under these circumstances - would be fruitful. The evidence is
           not fully developed, and the potential penalty associated with
           the January and March deliveries (if a prosecution could be
           brought) is not of the severity that would reasonably motivate
           DUNCAN, BRANCH, WATSON, or TREGGS to cooperate against their
           associates, especially given the strong gang and family
           relationships that exist between the known members of this DTO.

           As to the viability of search warrants, defendant suggests that investigators could have

   done surveillance on the Club to determine when his vehicle arrived and then obtain a search

   warrant for the vehicle and the premises. But, the government points out that there is no

   indication of whether Duncan actually was, or was reasonably likely to be, in possession of

   marijuana. Nor is there a discussion of whether there was probable cause to search the

   location at that particular time.

           In sum, the affidavit provided Judge Gwin with a substantial basis to find the necessity

   for the wiretap.

                   (ii) probable cause

           Defendant argues that probable cause is erroneously based on the casual rumors of

   CS-5 who knew nothing about Duncan, and intercepted phone conversations which are

   subjectively, and wrongly, interpreted by the affiant. But the affidavits reveal that Porrini was

   an extremely experienced and accomplished narcotics investigator who could reliably

   interpret the conversations. Judge Gwin acted within his discretion in accepting the Agent’s


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   interpretations of the calls. For purposes of a probable cause determination, Judge Gwin had

   a substantial basis to conclude that Duncan was involved in criminal activity. A common

   sense reading of the affidavit in its entirety would have shown that Porrini’s background

   knowledge gave him a reasonable belief that defendant was engaging in criminal activity.5

          (D) Antowan Logan’s Motion to Suppress His Intercepted Communications and
          Motions to Join filed by Darin Wright and Wesley A. Black

          These defendants rely on the previously asserted and rejected arguments and,

   therefore, their motions are denied for the reasons stated herein.

          Conclusion

          For the foregoing reasons and those stated by the government in its brief, all motions

   to suppress intercepted communications and wiretap evidence are denied.

          IT IS SO ORDERED.




                                         /s/ Patricia A. Gaughan
                                         PATRICIA A. GAUGHAN
   Dated: 3/13/13                        United States District Judge




   5
          To the extent Duncan also challenges probable cause in the previous affidavits,
          these assertions are likewise rejected for the reasons stated by the government in
          its brief.

                                                  48
